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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )          4:04CR3065
                                          )
                   Plaintiff,             )
                                          )
      vs.                                 )          MEMORANDUM
                                          )          AND ORDER
PEDRO VALLES-MINJAREZ,                    )
                                          )
                   Defendant.             )

      On the oral motion of defense counsel,

       IT IS ORDERED that Defendant Valles-Minjarez’s sentencing is continued to
Friday, June 10, 2005, at 12:30 p.m., before the undersigned United States District
Judge, in Courtroom No. 1, United States Courthouse and Federal Building, 100
Centennial Mall North, Lincoln, Nebraska. Since this is a criminal case, the defendant
shall be present unless excused by the court.

      DATED this 25th day of May, 2005.

                                               BY THE COURT:

                                               s/ Richard G. Kopf
                                               United States District Judge
